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                        UNITED STATES DISTRICT COURT

                              DISTRICT OF NEW JERSEY



    IN RE VALEANT                              Master No.: 3:15-cv-07658-MAS-LHG
    PHARMACEUTICALS
    INTERNATIONAL, INC.
    SECURITIES LITIGATION

    THIS DOCUMENT RELATES TO
    ALL CASES


                              JOINT DISCOVERY PLAN

         Pursuant to Fed. R. Civ. P. 26(f) and Local Civil Rule 26.1(b), the Class

   Action Plaintiffs, Opt-Out Litigation Plaintiffs, and Defendants submit this Joint

   Discovery Plan.

   I.    BRIEF STATEMENT OF FACTS AND LEGAL ISSUES
         A.    Class Action
         The securities class action, In re Valeant Pharms. Int’l, Inc. Sec. Litig.,

   Master No. 3:15-cv-07658-MAS-LHG (the “Class Action”), is brought on behalf

   of a putative class of purchasers of Valeant equity securities and senior notes

   between January 4, 2013 and March 15, 2016 (the “Class” and “Class Period,”

   respectively). The Consolidated Complaint filed on June 24, 2016 originally

   alleged nine counts pursuant to the Securities Exchange Act of 1934 (“Exchange

   Act”), Securities and Exchange Commission (“SEC”) Rule 10b-5, 17 C.F.R. §



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   240.10b-5, and the Securities Act of 1933 (“Securities Act”), ECF. No. 80.1 Lead

   Plaintiff, Teachers Insurance and Annuity Association of America (“TIAA”),

   named plaintiff, City of Tucson, together with and on behalf of the Tucson

   Supplemental Retirement System (“City of Tucson”), and additional named

   plaintiff IBEW Local Union 481 Defined Contribution Plan and Trust (“IBEW”)

   (collectively, “Class Plaintiffs”) allege that Valeant engaged in deceptive practices,

   which Defendants concealed through materially false and misleading statements

   and omissions.    Plaintiffs allege that once Valeant’s deceptive practices were

   disclosed to the public, the price of Valeant securities fell dramatically. Plaintiffs

   now seek compensatory damages and any other appropriate relief to which they are

   entitled. Not all claims are directed against each of the Defendants, some of whom

   are named only under one or a few counts. Defendants deny all liability as to all

   claims asserted against them.

         On April 28, 2017, the Court denied Defendants’ motions to dismiss with

   regard to Counts One, Two, Seven, Eight, and Nine, and granted Defendants’

   motions to dismiss, without prejudice, with regard to Counts Three, Four, Five, and




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      On September 20, 2018, Class Plaintiffs filed the First Amended Consolidated
   Complaint (“FAC”) naming additional defendants and bringing two additional
   counts under the Exchange Act. ECF No. 352.


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   Six of the Consolidated Complaint.2 All remaining Defendants in the Class Action

   answered this complaint following the Court’s April 2017 ruling.

         On July 11, 2017, the parties to the Class Action submitted a proposed Joint

   Discovery Plan to the Court.       No order was entered on the proposed Joint

   Discovery Plan.

         On July 21, 2017, the parties to the Class Action exchanged their initial

   disclosures pursuant to Fed. R. Civ. P. 26(a)(1).

         On October 12, 2017, the parties in the Class Action appeared before

   Magistrate Judge Goodman to discuss a jointly proposed scheduling order. Prior to

   entry of a scheduling order, on October 19, 2017, the Court entered an Order to

   Show Cause (ECF No. 273) as to whether the Court should stay the Class Action

   and the Opt-Out Litigations during the pendency of the criminal trial involving

   Philidor RX Services, LLC’s (“Philidor”) former CEO, Andrew Davenport, and

   former Valeant employee Gary Tanner. Following briefing, on November 29,

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      Following the Court’s ruling on the motions to dismiss, the remaining
   Defendants were:        the “Valeant Defendants” (Valeant Pharmaceuticals
   International, Inc., (“Valeant”), Robert L. Rosiello, Ari S. Kellen, Ronald H.
   Farmer, Colleen Goggins, Robert A. Ingram, Anders Lönner, Theo Melas-Kyriazi,
   Robert N. Power, Norma Provencio, Katherine B. Stevenson, and Jeffrey W.
   Ubben), separately represented individual defendants J. Michael Pearson, Howard
   B. Schiller, Tanya Carro, and Deborah Jorn; PricewaterhouseCoopers LLP
   (“PwC”); and, the “Stock Underwriter Defendants” (Deutsche Bank Securities,
   Inc., HSBC Securities (USA) Inc., Mitsubishi UFJ Securities (USA), Inc., DNB
   Markets, Inc., Barclays Capital, Inc., Morgan Stanley & Co. LLC, RBC Capital
   Markets, and SunTrust Robinson Humphrey, Inc.).


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   2017, the Court entered the Stipulation and Order Regarding Partial Stay (ECF No.

   291) (the “Stay”), which stayed certain proceedings and discovery in the Class

   Action and the Opt-Out Litigations.

         On June 5, 2018, the Court issued a Letter Order lifting the stay in the Class

   Action. ECF No. 316.

         On June 11, 2018, the Court issued a Letter Order consolidating into the

   Class Action the case styled Timber Hill LLC v. Valeant Pharms. Int’l, Inc., et al.,

   No. 18-cv-10246 (D.N.J.), a recently-filed securities class action arising under the

   same facts and alleging violations of the same securities laws as the Class Action.

   ECF No. 318. On June 18, 2018, Timber Hill LLC filed a motion seeking relief

   from the Consolidation Order. ECF No. 322. On July 2, 2018, Lead Plaintiff

   TIAA filed its opposition to Timber Hill’s motion. ECF No. 323. Timber Hill

   replied (ECF No. 325) and Lead Plaintiff filed a motion to file a sur-reply (ECF

   No. 329). On November 7, 2018, the Court issued a Memorandum Opinion (ECF

   No. 392) and Order (ECF No. 393) denying Timber Hill’s motion for relief from

   the Consolidation Order, denying Timber Hill’s motion for appointment as lead

   plaintiff (ECF No. 334) as moot and denying Lead Plaintiff’s motion to strike

   (ECF No. 335) as moot.

         On July 3, 2018, the parties submitted a revised proposed Joint Discovery

   Plan to the Court. No order was entered on the revised proposed Joint Discovery



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   Plan. On September 7, 2018, the parties submitted another, similar proposed Joint

   Discovery Plan. No order was entered on this proposed Joint Discovery Plan.

         On September 20, 2018, consistent with the deadline set forth in the parties’

   proposed Joint Discovery Plans referenced in the preceding paragraph, Class

   Plaintiffs filed the FAC naming additional defendants and bringing insider trading

   claims (see Counts III and IV of the FAC). ECF No. 352. The FAC’s insider

   trading claims are brought against ValueAct Capital Management L.P., ValueAct

   Capital Master Fund, L.P., ValueAct Co-Invest Master Fund, L.P., VA Partners I,

   LLC, ValueAct Holdings, L.P., and Defendant Ubben (collectively, the “ValueAct

   Defendants”).

         On September 26, 2018, counsel for all parties appeared before Magistrate

   Judge Goodman at an in-person status conference. During the conference, the

   parties and the Court addressed the July 3, 2018 proposed Joint Discovery Plan, the

   amendment of the Consolidated Complaint, the anticipated motion to dismiss from

   the ValueAct Defendants, and the potential impact of that motion on the parties’

   proposed discovery plan, including whether discovery would be stayed by

   operation of the PSLRA. Judge Goodman directed that Class Plaintiffs seek an

   order permitting the amendment of the Consolidated Complaint. On October 10,

   2018, Judge Goodman entered a consent order accepting the filing of the FAC

   nunc pro tunc.     ECF No. 366.      Additionally,   several parties subsequently



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   submitted letters to the Court regarding whether discovery should be stayed (see

   ECF Nos. 370-373). On November 13, 2018, the parties submitted a stipulation

   and proposed order to the Court in an effort to address whether the PSLRA

   discovery stay applied. ECF No. 396. Although the Court did not issue an order

   on the stipulation, the parties abided by its terms and agreed to stay discovery as to

   the parties in this actions while allowing document discovery of non-parties to

   continue.

         On September 28, 2018, Class Plaintiffs served their motion for class

   certification, accompanying memorandum of law, and supporting declarations and

   exhibits on Defendants. Following the Court’s previous instructions, the parties

   will file all class certification briefing with the Court when the motion is fully

   briefed pursuant to the schedule established by the Court.

         On October 4, 2018, counsel for Class Plaintiffs and Defendants stipulated

   to the dismissal of Counts V, VI, VII, and VIII of the FAC without prejudice

   pursuant to the Court’s April 28, 2017 Order, including dismissing without

   prejudice all claims against Goldman Sachs, J.P. Morgan, Merrill Lynch, CIBC,

   Citigroup, DBS, TD, BMO, and SMBC. ECF No. 362-1. The Court entered an

   Order adopting the stipulation on October 5, 2018. ECF No. 363.

         On October 24, 2018, the following defendants filed their answers to the

   FAC: (i) the Stock Underwriter Defendants (Deutsche Bank, HSBC, MUFJ, DNB,



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   Barclays, Morgan Stanley, RBC, and SunTrust) (ECF No. 375); (ii) Schiller (ECF

   No. 376); (iii) PwC (ECF No. 377); (iv) Pearson (ECF No. 378); (v) Valeant,

   Farmer, Goggins, Ingram, Kellen, Lönner, Melas-Kyriazi, Power, Provencio,

   Rosiello, and Stevenson (ECF No. 379); (vi) Carro (ECF No 380); and (vii) Jorn

   (ECF No. 381).

         On October 31, 2018, the ValueAct Defendants moved to dismiss Count I

   against defendant Ubben, and Counts III and IV in their entirety. ECF No. 387.

   Class Plaintiffs opposed on November 19, 2018 (ECF No. 401), and the ValueAct

   Defendants replied on November 28, 2018 (ECF No. 404).

         On January 14, 2019, Defendants Valeant, Pearson, Schiller, Rosiello,

   Kellen, Jorn, and Carro moved to dismiss the Timber Hill action. ECF No. 407.

   On February 5, 2019, Class Plaintiffs opposed the motion to dismiss and moved to

   strike it (ECF No. 416) and Timber Hill filed a separate opposition to the motion to

   dismiss (ECF No. 417). Defendants filed their reply on February 13, 2019. ECF

   No. 420. That motion remains pending before the Court.

         On June 30, 2019, the Court issued a Memorandum Opinion and Order

   denying the ValueAct Defendants’ motion to dismiss. ECF Nos. 462-463.

         B.    Opt-Out Litigations
         Thirty-one cases have been filed by individual investors and groups of

   investors in Valeant securities (the “Opt-Out Litigations”). Some of the Opt-Out



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   Litigations plead causes of action not pled in the Class Action, including claims

   under New Jersey’s RICO statute, Section 18 of the Securities Exchange Act of

   1934, and New Jersey common law.3 The status of the Opt-Out Litigations is as

   follows:

               1.    Cases With Motions to Dismiss Pending

        Northwestern Mutual Life Insurance Co., et al. v. Valeant Pharmaceuticals
         Inc., et al., No 3:18-cv-15286, (Filed 10/24/18)

        Bahaa Aly, et al. v. Valeant Pharmacueticals International Inc., et al., No.
         3:18-cv-17393, (Filed 12/19/18)

               2.    Cases With Motions to Dismiss Resolved on January
                     12, 2018

        T. Rowe Price Growth Stock Fund, Inc., et al. v. Valeant Pharmaceuticals
         International, Inc., et al., No. 3:16-cv-05034, (Filed 8/15/16)

        Equity Trustees Limited as Responsible for T. Rowe Price Global Equity
         Fund, et al. v. Valeant Pharmaceuticals International, Inc., et al., No. 3:16-
         cv-06127, (Filed 9/26/16)

        Principal Funds, Inc., et al. v. Valeant Pharmaceuticals International, Inc.,
         et al., No. 3:16-cv-06128, (Filed 9/27/16)

        BloombergSen Partners Fund LP, et al. v. Valeant Pharmaceuticals
         International, Inc., et al., No. 3:16-cv-07212, (Filed 10/13/16)

        Discovery Global Citizens Master Fund, Ltd., et al. v. Valeant
         Pharmaceuticals International, Inc., et al., No. 3:16-cv-07321, (Filed
         10/14/16)

        MSD Torchlight Partners, L.P., et al. v. Valeant Pharmaceuticals
         International, Inc., et al., No. 3:16-cv-07324, (Filed 10/14/16)

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      Not all Defendants in the Class Action are named in each of the Opt-Out
   Litigations.


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        BlueMountain Foinaven Master Fund L.P., et al. v. Valeant
         Pharmaceuticals International, Inc., et al., No. 3:16-cv-07328, (Filed
         10/14/16)

        Incline Global Master LP, et al. v. Valeant Pharmaceuticals International,
         Inc., et al., No. 3:16-cv-07494, (Filed 10/18/16)

        VALIC Company I, et al. v. Valeant Pharmaceuticals International, Inc., et
         al., No. 3:16-cv-07496, (Filed 10/18/16)

        Janus Aspen Series, et al. v. Valeant Pharmaceuticals International, Inc., et
         al., No. 3:16-cv-07497, (Filed 10/18/16)

               3.    Cases With Motions to Dismiss Resolved on July 31,
                     2018

        Lord Abbett Investment Trust-Lord Abbett Short Duration Income Fund et
         al. v. Valeant Pharmaceuticals International Inc., et al., No. 3:17-cv-06365,
         (Filed 8/23/17)

        Public Employees’ Retirement System of Mississippi v. Valeant
         Pharmaceuticals International Inc., et al., No. 3:17-cv-07625, (Filed
         9/28/17)

        The Boeing Company Employee Retirement Plans Master Trust and the
         Boeing Company Employee Savings Plans Master Trust v. Valeant
         Pharmaceuticals International Inc., et al., No. 3:17-cv-07636, (Filed
         9/28/17)

               4.    Cases With Motions to Dismiss Resolved on
                     September 14, 2018

        Pentwater Equity Opportunities Master Fund LTD v. Valeant
         Pharmaceuticals International, Inc., et al., No. 3:17-cv-07552, (Filed
         9/27/17)

        Hound Partners Offshore Fund, LP, Hound Partners Long Master, LP, and
         Hound Partners Concentrated Master, LP v. Valeant Pharmaceuticals
         International Inc., et al., No. 3:18-cv-08705, (Filed 1/4/18)

        Blackrock Global Allocation Fund, Inc., et al. v. Valeant Pharmaceuticals
         International, Inc., et al., No. 3:18-cv-00343, (Filed 1/9/18)


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               5.    Cases With Motions to Dismiss Resolved On
                     September 26, 2018

        New York City Employees’ Retirement System, et. al. v. Valeant
         Pharmaceuticals International Inc., et. al., No. 3:18-cv-00032, (Filed
         1/2/18)

               6.    Cases With Motions to Dismiss Resolved on
                     December 10, 2018

        2012 Dynasty UC LLC, et al., v. Valeant Pharmaceuticals International Inc.,
         et al., No. 18-cv-08595, (Filed 4/30/18)

               7.    Cases With Motions to Dismiss Resolved on May 30,
                     2019

        Catalyst Dynamic Alpha Fund, et al., v. Valeant Pharmaceuticals
         International, Inc., et al., No. 3:18-cv-12673, (Filed 8/10/18)4

               8.    Cases Where No Motions To Dismiss Will Be Filed

        Okumus Opportunistic Value Fund, Ltd. v. Valeant Pharmaceuticals
         International, et al., No. 3:17-cv-6513, (Filed 8/29/17) (Motions to dismiss
         filed and withdrawn pursuant to stipulation)

        Första AP-Fonden, et al., v. Valeant Pharmaceuticals International, Inc., et
         al., No. 2:17-cv-12088, (Filed 11/27/17)

        State Board of Administration of Florida v. Valeant Pharmaceuticals
         International, Inc., et al., No. 3:17-cv-12808, (Filed 12/07/17)

        The Regents of the University of California v. Valeant Pharmaceuticals
         International, Inc., et al., No. 3:17-cv-13488, (Filed 12/21/17)

        GMO Trust, et al. v. Valeant Pharmaceuticals International, Inc., et al.,
         3:18-cv-00089, (Filed 1/03/18)

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     Plaintiffs filed an Amended Complaint on July 1, 2019. Defendants intend to
    move to dismiss the Amended Complaint.


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         Colonial First State Investments Limited As Responsible Entity for
          Commonwealth Global Shares Fund 1, et al. v. Valeant Pharmaceuticals
          International, Inc., et al., No. 3:18-cv-00383, (Filed 1/10/18)

         Bharat Ahuja, et al. v. Valeant Pharmaceuticals International, Inc., et al.,
          No. 3:18-cv-00846, (Filed 1/19/18)

         Brahman Capital Corp., et al., v. Valeant Pharmaceuticals International,
          Inc., et al., No. 3:18-cv-00893, (Filed 1/22/18)

         The Prudential Insurance Company of America, et al., v. Valeant
          Pharmaceuticals International, Inc., et al., No. 3:18-cv-01223, (Filed
          1/29/18)

                9.     Cases That Have Been Voluntarily Dismissed

         Senzar Healthcare Master Fund, LP and Blue Rock Liquid Alpha Fund,
          L.P., v. Valeant Pharmaceuticals International, Inc., et al., No. 2:18-cv-
          02286, (Filed 2/16/18)


    II.   DISCOVERY CONDUCTED TO DATE IN THE CLASS
          ACTION

          A.    Party Discovery in the Class Action
          Prior to the Stay, Class Plaintiffs served their First Request for Production of

    Documents to Defendants Valeant and PwC, which, among other things, requested

    reproduction of documents provided to certain Investigating Agencies. Defendant

    Valeant and PwC have made several productions in response to Class Plaintiffs’

    First Requests. Valeant’s production to certain Investigating Agencies is ongoing,

    and Valeant is supplementing its productions to Class Plaintiffs on an ongoing

    basis. Class Plaintiffs are in the process of reviewing the documents produced and




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    the parties are discussing matters relating to the production, privilege assertions,

    time period objections, and discovery disputes.

          Class Plaintiffs also served requests for production of documents on each of

    the Stock Underwriter Defendants, who produced certain responsive documents,

    and served Valeant with Lead Plaintiff’s first set of interrogatories, to which

    Valeant responded and subsequently provided supplemental responses on June 12,

    2018. Class Plaintiffs are meeting and conferring with Valeant regarding the

    sufficiency of the responses and supplemental responses to the interrogatories.

          On June 9, 2017 and June 30, 2017, the Stock Underwriter Defendants and

    PwC, respectively, served their first requests for production of documents on City

    of Tucson. The City of Tucson has responded to the document requests and

    produced documents on July 13, 2017. The City of Tucson made an additional

    production of documents on September 28, 2018. On September 15, 2017, the

    Valeant Defendants served TIAA and City of Tucson with the Valeant Defendants’

    first request for production of documents. TIAA and City of Tucson provided

    written responses and objections on October 16, 2017. On August 20, 2018, TIAA

    produced documents in response to the Valeant Defendants’ first requests for

    production of documents. Class Plaintiffs will meet and confer with the Valeant

    Defendants to agree on deadlines for further production of responsive documents.




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          On September 18, 2017, PwC served City of Tucson with PwC’s second

    request for production of documents. City of Tucson provided written responses

    and Objections on October 18, 2017.

          On October 11 and 17, 2017, Class Plaintiffs served their second request for

    production of documents on PwC and Valeant, respectively.           The response

    deadlines for these second requests for production were impacted by the filing of

    the ValueAct Defendants’ motion to dismiss, and Class Plaintiffs will meet and

    confer with Valeant regarding these additional requests. PwC agreed to serve

    written responses on June 27, 2019 and will meet and confer with Plaintiffs to

    discuss a reasonable timeline for production of the documents that PwC agrees to

    produce pursuant to those responses.

          On October 2, 2018, certain Valeant defendants served their second requests

    for production relating to TIAA’s representation of the putative class. On October

    18, 2018, PwC served City of Tucson with its third request for production of

    documents. Also on October 18, 2018, certain Valeant defendants served IBEW

    with their first requests for production of documents. Counsel for Class Plaintiffs

    and Defendants will meet and confer regarding the deadlines for responses to these

    discovery requests.




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          B.     Third Party Discovery in the Class Action
          Class Plaintiffs served subpoenas on more than 100 third parties, including

    Philidor, investment banks, and analysts, Valeant investors and consultants, entities

    related to Valeant and Philidor, pharmacy benefit managers, and former employees

    of Valeant and Philidor. Some of those third parties completed production prior to

    the Stay, but the majority had not produced documents. Certain third parties have

    continued to produce documents during the agreed stay of party discovery pending

    resolution of the ValueAct Defendants’ motion to dismiss. Class Plaintiffs have

    been reviewing the documents that were produced and conducting numerous meet

    and confers with the other third parties to determine the scope of discovery

    disputes, negotiate objections, and to discuss the parameters of production, such as

    the use of search terms and identification of document custodians. Class Plaintiffs

    also recently served additional third party subpoenas.

          C.     Existing Discovery Disputes in the Class Action
          Prior to entry of the Stay, Class Plaintiffs had discovery disputes with non-

    parties Philidor and Cambria Pharmacies, Inc., which were the subject of joint

    letters submitted to Magistrate Judge Goodman on October 13, 2017. Following

    resolution of the Davenport-Tanner criminal trial, Class Plaintiffs began meeting

    and conferring with Philidor and Cambria to determine whether the discovery

    disputes remained.



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          On October 26, 2018, Class Plaintiffs filed their motion to compel non-

    parties Philidor and the Philidor Network Entities (collectively, the “Philidor

    Entities”) to produce documents in response to subpoenas.          ECF No. 386.

    Following briefing, on April 12, 2019, the Court issued a Letter Opinion & Order

    granting Class Plaintiffs’ motion.   ECF No. 441.      On May 17, 2019, Class

    Plaintiffs submitted a letter to Magistrate Judge Goodman requesting that the Court

    order the Philidor Entities to comply with the Letter Opinion & Order. ECF No.

    452. The Philidor Entities responded on May 23, 2019 (ECF No. 453) and Class

    Plaintiffs filed a responsive letter on May 24, 2019 (ECF No. 454). To date, the

    Philidor Entities have not produced any documents to Class Plaintiffs in response

    to the Letter Opinion & Order granting the motion to compel.

          D.    Additional Discovery Needed in the Class Action
          During the Rule 26(f) conference, the parties agreed that the scope of

    discovery was likely to be commensurate with complex litigation of this nature.

    The parties deferred addressing any amendment to the statutory limits for

    depositions (Rule 30(a)(2)) and interrogatories (Rule 33(a)(1)), until after

    document discovery has commenced. The parties agreed to reserve their rights to

    seek discovery relevant to claims or defenses identified during discovery and to

    object to such discovery requests.      The parties anticipate requesting and/or




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    producing computer-based or other electronically stored information and an

    Electronic Discovery Protocol was entered on October 16, 2017. ECF No. 271.

           The parties to the Class Action and Opt-Out Litigations have agreed that

    depositions in these and related cases will be coordinated subject to the parties

    agreeing to a deposition protocol before the commencement of depositions. If the

    parties are unable to reach an agreement concerning a deposition protocol, the

    parties will submit competing proposals to the Court.

    III.   DISCOVERY IN THE OPT-OUT LITIGATIONS
           As a result of the temporary Stay, discovery was partially stayed in the Opt-

    Out Litigations. Pursuant to the Stipulation and Order Regarding Partial Stay

    entered in the Class Action and certain of the Opt-Out Litigations, Defendant

    Valeant has provided certain Opt-Out Litigation plaintiffs with access to the

    materials they produced in the Class Action in response to the Class Plaintiffs’ first

    set of document requests, subject to the Confidentiality Order.

           Answers have been filed in all Opt-Out Litigations except for Catalyst,

    Northwestern, and Aly. Additional answers will be served in cases with pending

    motions to dismiss, forty-five days after those motions to dismiss are resolved.

    IV.    ESTIMATE ON THE TIME NEEDED TO COMPLETE
           DISCOVERY
           The parties in all actions have proposed the schedule for discovery and trial-

    related deadlines in the table below:


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                     Action                            Proposed Dates

    Deadline for substantial completion of             October 1, 2019
    document productions related to class
    certification issues, with productions to
    be made on a rolling basis in advance
    of this date

    Deadline for completion of depositions            November 21, 2019
    sought by Defendants related to class
    certification issues

    Deadline for Defendants to serve Class            December 13, 2019
    Plaintiffs with Opposition to Class
    Certification Motion

    Deadline for completion of depositions             January 31, 2020
    sought by Plaintiffs related to class
    certification issues

    Deadline for Class Plaintiffs to serve            February 14, 2020
    Defendants with Reply in Support of
    Class Certification, Notify Court of
    Completion of Class Certification
    Briefing, and file all class certification
    briefing with the Court

    Deadline for substantial completion of              March 6, 2020
    any document productions in response
    to any requests for production served
    by October 15, 2019, with productions
    in response to those requests to be
    made on a rolling basis in advance of
    this date

    Deadline to meet and confer regarding               March 6, 2020
    protocol for depositions




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                    Action                                   Proposed Dates

    Deadline      for    service    of    all                October 20, 2020
    interrogatories, requests for admission,
    and requests for production

    Fact Discovery Cutoff                                   December 18, 2020

    Deadline to serve affirmative expert                      March 16, 2021
    reports

    Deadline to serve rebuttal expert                          June 21, 2021
    reports

    Deadline to serve reply expert reports                   August 30, 2021

    Expert Discovery Cutoff                                September 14, 2021

    Deadline to file Dispositive Motion(s)                  November 15, 2021

    Deadline to file Opposition(s) to                        January 14, 2022
    Dispositive Motion(s)

    Deadline to file Reply in support of                    February 28, 2022
    Dispositive Motion(s)

    Deadline for objection(s) to proposed             90 days before the final pretrial
    expert testimony under FRE 702                              conference

    Opposition to any objection(s) to                 60 days before the final pretrial
    proposed expert testimony under FRE                         conference
    702

    Reply in support of any objection(s) to           30 days before the final pretrial
    proposed expert testimony under FRE                         conference
    702

    Deadline for parties to designate                 45 days before the final pretrial
    potential trial witnesses and proposed                      conference
    exhibits




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                     Action                                   Proposed Dates

    Deadline for parties to file a joint set of        45 days before the final pretrial
    jury instructions, proposed jury                             conference
    instructions which are objected to by
    any other party and points and
    authorities in support of and in
    opposition to the objected to
    instructions

    Final Pretrial Conference                                       TBD

    Proposed Trial Date                                             TBD

    V.    EXPERT TESTIMONY
          The parties in the Class Action and the Opt-Out Litigations anticipate that

    expert testimony will be necessary.

    VI.   LIMITATIONS ON DISCOVERY DEVICES
          None requested at this time.

    VII. SPECIAL DISCOVERY NEEDS
          None known at this time.

    VIII. CONFIDENTIALITY ORDER
          A.     Class Action
          On June 18, 2017, the Court entered an Order approving the parties’

    Stipulation and Confidentiality Order in the Class Action. See ECF No. 244. On

    March 12, 2019, the Court entered an Order approving the parties’ Amended

    Stipulation and Confidentiality Order. ECF No. 429.




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          B.    Opt-Out Litigations
          The Confidentiality Order has also been entered in certain of the Opt-Out

    Litigations. See, e.g., T. Rowe Price Action (ECF No. 89); CFSIL Action (ECF

    No. 24); NYCERS Action (ECF No. 42); Ahuja Action (ECF No. 22).

    IX.   DISPUTE RESOLUTION
          The parties do not believe there is a need for alternative dispute resolution.

    Consistent with the Court’s instructions (ECF No. 423), the parties previously

    submitted three proposed special master candidates, Judge Dennis M. Cavanaugh,

    Judge John Lifland, and Judge Joel B. Rosen, for the Court’s consideration. ECF

    No. 425. On July 10, 2019, the Court entered an order advising the parties that

    Judge Dennis M. Cavanaugh is being considered for appointment as special

    master.

    Dated: August 5, 2019




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